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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 SECURITIES           ANDEXCHANGE :                   Civil Action No. 1:23-cv-00841-JRR
 COMMISSION,                        :
                                    :                 Judge Hon. Beth P. Gesner
 Plaintiff,                         :
                                    :
 v.                                 :                 Case in other Federal Court:
                                    :
 PRINCETON ALTERNATIVE FUNDING,     :                 District of New Jersey
 LLC, MICROBILT CORPORATION,        :                 3:21-cv-12971-ZNQ-RL
 PHILIP N. BURGESS, WALTER          :
 WOJCIECHOWSKI, and JOHN COOK, JR., :
                                    :
 Defendants.                        :

                       JOINT STIPULATION FOR
           EXTENSION OF TIME FOR DEFENDANTS TO REPLY TO
        RESPONSE OF JOSEPH KENARY TO DEFENDANTS’ MOTION TO
      COMPEL COMPLIANCE WITH THIRD PARTY DOCUMENT SUBPOENA

       Defendants Princeton Alternative Funding, LLC, MicroBilt Corporation, Philip N.

Burgess, Jr., Walter Wojciechowski, and John Cook, Jr. (“Defendants”), and Respondent Joseph

Kenary (“Kenary”) (together, the “Parties”), hereby stipulate that Defendants shall have an

extension of time until June 30, 2023 (the “New Filing Date”), to file a Reply to Kenary’s Response

to Defendants’ Motion to Compel Compliance with Third Party Document Subpoena (the “Motion

to Compel”). The Parties, through this Stipulation, advise the Court that they are attempting to

amicably resolve the issues raised by the Motion to Compel, and that, in order to get that

accomplished, the Parties are requesting that the Court approve this Stipulation extending the filing

deadline for Defendants’ Reply from May 30, 2023, to June 30, 2023.




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Defendants,                                 Respondent,
By Their Attorney,                          By His Attorney,

/s/ Jeffrey S. Jacobovitz                    /s/ Creighton R. Magid
Jeffrey S. Jacobovitz, Esquire              Creighton R. Magid, Esquire
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Of Counsel (to be admitted pro hac vice):   Of Counsel:

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SO ORDERED:


                                      JUDGE BETH P. GESNER
Dated: May ___, 2023




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